       Case 1:14-cv-00234-WJ-KBM Document 62 Filed 09/30/15 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



BRYAN CONKLING,                              )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )       CIV. 14-0234- WJ/KBM
                                             )
TRI-STATE CAREFLIGHT, LLC, and               )
BLAKE STAMPER, Individually,                 )
                                             )
                      Defendants.            )
                                             )


        SUGGESTION OF DEATH UPON THE RECORD AND UNOPPOSED
       MOTION TO VACATE TRIAL SETTING AND PRE-TRIAL DEADLINES


       NOTICE is hereby given to the parties in this matter, and to the Court, that Plaintiff

Bryan Conkling was fatally injured on or around September 2, 2015. As indicated by local news

reports, Mr. Conkling’s body was found in the Sandia Mountains in the early morning of

September 2, 2015.

       In order to afford Mr. Conkling’s family time to make decisions and for a personal

representative to be appointed, Counsel for Mr. Conkling hereby request that the trial setting and

other deadlines presently scheduled in this matter be VACATED. Because there were pending

discovery issues still unresolved at the time of Mr. Conkling’s death, we specifically request that

such vacation include discovery deadlines.

       Although a personal representative for Mr. Conkling has not yet been appointed, it is

anticipated that Mr. Mark Conkling, father to the decedent, will be appointed as personal

representative. In accordance with Rule 25 of the Federal Rules of Civil Procedure, counsel for
       Case 1:14-cv-00234-WJ-KBM Document 62 Filed 09/30/15 Page 2 of 2




Plaintiff will file a Motion for Substitution of Parties or other appropriate pleadings within ninety

days of the date of this notice.

       WHEREFORE, the Plaintiffs request the Court vacate the trial setting of December 7,

2015 be vacated; and that Pre-Trial deadlines, discovery and other trial preparation deadlines be

vacated as well.



                                                      Respectfully submitted,

                                                      JONES, SNEAD, WERTHEIM, &
                                                        CLIFFORD, P.A.
                                                      Attorneys for Plaintiff Bryan Conkling

                                                      By: __/s/ Samuel C. Wolf  __________
                                                             SAMUEL C. WOLF
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                                                             SANTA FE, N M 87504-2228
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                                   CERTIFICATE OF SERVICE

       It is hereby certified that on the 30th, day of September 2015, a true and correct copy of

the foregoing Unopposed Motion to Vacate Trial Setting and Pre-trial Deadlines Including

Discovery was e-filed and served electronically through the Odyssey system on:

Charles Vigil Esq.
Jeffery L. Lowry
P.O. Box 1888
Albuquerque, New Mexico 87103


                                                      s/Samuel C. Wolf




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